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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ELIZABETH CHAN, et al.,                                             11/19/2024

                        Plaintiffs,

            -v-                                        23-cv-10365 (LJL)
                                                       24-cv-01644 (LJL)
UNITED STATES DEPARTMENT OF                            24-cv-00367 (LJL)
TRANSPORTATION, et al.,                                24-cv-04111 (LJL)

                        Defendants.                             ORDER

MICHAEL MULGREW, et al.,

                        Plaintiffs,

            -v-

UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                        Defendants.

NEW YORKERS AGAINST CONGESTION
PRICING TAX, et al.,

                        Plaintiffs,

            -v-

UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                        Defendants.

TRUCKING ASSOCIATION OF NEW YORK,

                        Plaintiff,

            -v-

METROPOLITAN TRANSPORTATION
AUTHORITY, et al.,
                   Defendants.
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LEWIS J. LIMAN, United States District Judge:

       The Court will hold a conference in the above-captioned cases on November 21, 2024, at

12:00 PM in Courtroom 15C, 500 Pearl Street, New York, NY 10007. The Court has set the

schedule for briefing on the omnibus motions to dismiss. At the conference, the parties should

be prepared to discuss any other anticipated steps in the litigation including the briefing schedule

for Plaintiff Trucking Association of New York’s anticipated preliminary injunction motion.


       SO ORDERED.


Dated: November 19, 2024                             __________________________________
       New York, New York                                       LEWIS J. LIMAN
                                                            United States District Judge




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